         Case 22-40667         Doc 5     Filed 05/31/22 Entered 05/31/22 10:59:30              Desc Main
                                            Document    Page 1 of 1
                            UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


IN RE:
Cameron M. Peroni                                          Case No. 22-40667 btr
4200 Horizon North Pkwy                                    Chapter: 7
Apt. No. 435
Dallas , TX 75287
Debtor

     NOTICE OF MISSING DOCUMENTS AND NOTICE THAT CASE MAY BE DISMISSED
                         IF DOCUMENTS ARE NOT FILED

Upon review of the Court's docket in the above-referenced case, the Clerk notes that the following required documents
have yet to be filed with the Court. Items listed below are due by June 10, 2022.
Schedules
B 106 Declaration - Declaration About an Individual Debtor's Schedules
B 106 Summary - A Summary of Your Assets and Liabilities and Certain Statistical Information
B 106A/B - Schedule A/B:Property
B 106C - Schedule C:The Property You Claim as Exempt
B 106D - Schedule D:Creditors Who Hold Claims Secured By Property
B 106E/F - Schedule E/F:Creditors Who Have Unsecured Claims
B 106G - Schedule G:Executory Contracts and Unexpired Leases
B 106H - Schedule H:Your Codebtors
B 106I - Schedule I:Your Income
B 106J - Schedule J:Your Expenses
Statements
B 107 - Your Statement of Financial Affairs for Individuals Filing Bankruptcy
Chapter 7
B 122A-1 - Chapter 7 Statement of Your Current Monthly Income
NOTICE: Failure to timely file the required statements and schedules and to comply with the Fed. R. Bankr. P.
1007(c) and 11 U.S.C. § 521 to cure any or all of the deficiencies noted above shall subject this petition to
dismissal without further notice. All forms can be found at http://www.uscourts.gov/forms/bankruptcy-forms.

DATED: May 31, 2022
                                                            JASON K. MCDONALD
                                                            CLERK OF THE COURT
